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                 UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETT
_________________________________________
DR. SHIVA AYYADURAI,                      )
                     Plaintiff,           )
                                          )
          v.                              ) C.A. No. 1:18-cv-11929-RGS
                                          )
THE UNIVERSITY OF MASSACHUSETTS,          )
MARTY MEEHAN, DAVID CASH,                 )
                     Defendants.          )
_________________________________________
  PLAINTIFF’S MEMORANDUM IN SUPPORT OF HIS MOTION FOR
                    PRELIMINARY INJUNCTION

      A preliminary injunction is necessary here to prevent Plaintiff Dr. Shiva

Ayyadurai from suffering irreparable harm by being blocked from debates critical to

reaching undecided voters in the Massachusetts election to the United States Senate.

Defendants the University of Massachusetts, and Marty Meehan and David Cash, in

their official capacities with the University, should be enjoined from conducting the

Arbitrary Debates for the United States Senate debates scheduled for October 21,

2018, and October 30, 2018 without allowing Plaintiff an opportunity to participate,

and from conducting the Criteria Debate on October 15, 2018 without affording

Plaintiff an opportunity to earn participation. Otherwise, these events would be

conducted in violation of the First and Fourteenth Amendments of the United States

Constitution and Massachusetts Law.
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      Because of the looming schedule for the debates and the irreparable harm

posed to the Plaintiff by his absence from that stage, the Plaintiff respectfully

requests oral argument and a decision on an expedited basis.

                                 INTRODUCTION

      This action arises out of Defendants’ exclusion of Plaintiff from a series of

debates the University of Massachusetts (“UMass” or the “University”) is hosting

and/or sponsoring, which lead up to the November 2018 general election for United

States Senate. Defendants have invited the Democratic and Republican nominees for

Senate to participate in the Arbitrary debates, and also offered those nominees seats

in the Criteria debate. At the same time, Defendants have prohibited Plaintiff, an

Independent candidate and the only other legally qualified candidate for the same

seat, from participating in either the Arbitrary debates or the Criteria debate.

      In doing so, Defendants discriminate against Plaintiff based solely on his

viewpoint and lack of political party affiliation. This boycott constitutes blatant

viewpoint discrimination and a violation of the First and Fourteenth Amendments as

well as a violation of Massachusetts’ law. This motion requests that this Court issue

a preliminary injunction prohibiting Defendants from conducting Arbitrary debates

that fail to permit Plaintiff to participate, and from conducting the Criteria debate

without affording Plaintiff an opportunity to earn participation.




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                          I.     FACTUAL BACKGROUND

      Dr. Ayyadurai is a ballot-qualified independent candidate for United States

Senate in Massachusetts. Facts related to his candidacy, the strength of this

campaign, the financial support, and the media attention he has generated are

outlined in the Verified complaint in this matter, and those facts are incorporated

here by reference.

      On August 30, 2018, Dr. Ayyadurai received a letter signed by Defendant

David Cash conditionally inviting him to participate in the October 15, 2018 debate

(the “Criteria debate”) hosted by the University, NBC10 Boston, Telemundo Boston,

NECN, the Boston Globe, WBUR, and the John F. Kennedy Library Foundation.

Ex. A. His participation was contingent upon his candidacy “achiev[ing] a

significant level of support” as gauged by “looking at three statewide opinion polls

conducted by reputable news organizations or academic institutions prior to October

1, and average[ing] their figures.” One or more of the organizations which have

conducted polls for this race are co-hosting the October 15 Criteria debate with the

University. If an average of 15 percent of respondents to those polls indicated

support, typically measured by the visibility of Plaintiff’s candidacy e.g. if registered

Massachusetts voters had heard of his campaign, the letter stated, he would be

allowed to participate in the debate.




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      Through no fault of Plaintiff, and as a direct result of the University’s debate

co-hosts’ actions, Dr. Ayyadurai’s name has been outright excluded from the most

important question used to determine his visibility from all known recent public polls

with the exception of two polls conducted much earlier in the campaign cycle. The

MassINC Polling Group/WBUR’s polls conducted this year, on March 16-18 and

May 22-26, 2018, for example, removed his name on the most important and critical

question on visibility. Nearly one year ago, a similar poll conducted in June of 2017

by MassINC Polling Group/WBUR showed that 14% of those polled had at least

heard of Dr. Ayyadurai. Dr. Ayyadurai’s name also does not appear on any

questions on the Suffolk University Political Research Center/Boston Globe poll

conducted June 8-12, 2018. These absences are conspicuous given those polls’

inclusion of other, less notable, candidates, and given that the visibility percentage

is requisite to determine access to the October 15, 2018 debate for which the

University, the Boston Globe, and WBUR are among the hosts.

      Accordingly, the criteria the University has set forth for inclusion in its

October 15 Criteria debate will exclude Plaintiff as a direct result of actions of its

co-host. Plaintiff is a serious and viable candidate, entitled to participate on equal

footing with the nominees from the two major parties. This exclusion from the

qualifying process is a direct result of decisions by the Defendants and the

University’s co-hosts.



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          On the night of the September 4, 2018 primary election, Dr. Ayyadurai

learned through the media that two other debates sponsored by the University of

Massachusetts (the “Arbitrary debates”) were apparently pre-arranged without Dr.

Ayyadurai’s knowledge or invitation, to which Plaintiff’s general election

opponents, Democratic Senator Elizabeth Warren and Republican Challenger Geoff

Diehl, were invited. The Arbitrary debates are scheduled to take place on October

21, 2018 and October 30, 2018. Defendants have kept secret the criteria in excluding

Dr. Ayyadurai from those debates or under what criteria he may participate. He

appears to have been excluded from this debate because of his viewpoints and lack

of affiliation with a political party. He is the only other person besides the

Republican and Democratic candidates who will appear on the general election

ballot.

          On September 6, 2018, Plaintiff, by and through counsel, transmitted a letter

to Defendant Meehan, which requested that he be permitted to participate in the

Arbitrary debates and the ability to earn participation in the Criteria debate. Ex. B.

The letter also requested a response by Wednesday, September 12, 2018.

Subsequently, on or about September 11, 2018, UMass counsel indicated in a phone

call to counsel for Plaintiff that the “debate at UMASS Boston” has been postponed,

without specifying which specific debate Defendants are postponing.




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      Defendant University of Massachusetts is part of the Massachusetts system of

public institutions of higher education. See Mass. Ann. Laws ch. 75, § 1 (Law. Coop.

1978). As such, “[t]he University is an instrumentality of the Commonwealth of

Massachusetts and its administrators and trustees in actions taken in their official

capacity are subject to the restrictions of the [United States Constitution.]” Close v.

Lederle, 303 F. Supp. 1109, 1111 (D. Mass. 1969), rev’d on other grounds, 424 F.2d

988. See also Reproductive Rights Network v. President of Univ. of Mass., 45 Mass

App. Ct. 495 (1998).

      Defendant Marty Meehan is the President of the University of Massachusetts.

Defendant David Cash, who signed the conditional invitation letter sent to Plaintiff

regarding the October 15 Criteria debate, is the Dean of the McCormack Graduate

School of Policy and Global Studies at the University of Massachusetts Boston.

                            II.    LAW AND ARGUMENT

      Plaintiff requests a preliminary injunction prohibiting the Defendants and

their agents and employees from holding the Criteria debate without Dr. Ayyadurai.

The debate was scheduled for October 15 without offering Plaintiff a reasonable

opportunity to earn the right to participate and the Arbitrary debates scheduled for

October 21 and October 30, 2018 will also be held without the Plaintiff.

      “In order to be granted a preliminary injunction, a plaintiff must show the

Court ‘that he is likely to succeed on the merits, that he is likely to suffer irreparable



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harm in the absence of preliminary relief, that the balance of equities tips in his favor,

and that an injunction is in the public interest.’” Voice of the Arab World, Inc. v.

MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011) (quoting Winter v.

Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). “The sine qua non of this

four-part inquiry is likelihood of success on the merits...” New Comm Wireless

Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002). Further, the balance of

the equities and public interest preliminary injunction factors “merge in a case like

this one, where the Government is the party opposing the preliminary injunction.”

Devitri v. Cronen, 289 F. Supp. 3d 287, 297 (D. Mass 2018) (citing Nken v. Holder,

556 U.S. 418, 435 (2009)).

   A. PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS

      Dr. Ayyadurai is likely to succeed on the merits of this case because

Defendants have acted unlawfully. Defendants’ refusal to allow Plaintiff an equal

opportunity to earn participation in the Criteria debate and to wholly exclude him

from the Arbitrary debates because of viewpoint and lack of party affiliation violates

the First and Fourteenth Amendments and Article 16 of the Massachusetts

Declaration of Rights because it is blatant viewpoint discrimination. This

discrimination has been done arbitrarily and Defendants cannot assert any interest

sufficient to justify such discrimination. Accordingly, Defendants actions in




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excluding Plaintiff from their debates is unconstitutional and Plaintiff is therefore

likely to succeed on the merits of this case.

            Defendants’ Exclusion of Plaintiff from the October 21 and October
            30 “Arbitrary” Debates is Unconstitutional.

        Defendants have discriminated against Dr. Ayyadurai based on the arbitrary

decision to include only the Republican and Democratic candidates while excluding

the only other legally qualified candidate. The Defendants have given no

justification for excluding Dr. Ayyadurai from those debates despite Plaintiff’s clear

and unquestionable status as a serious candidate and therefore they unreasonably,

arbitrarily, capriciously, and unconstitutionally prohibited Plaintiff’s participation.

It appears that his exclusion from the Arbitrary debates has occurred because of

Plaintiff’s viewpoint and lack of political party affiliation. Because the Arbitrary

debates, upon information and belief, are co-sponsored by UMass, Plaintiff’s

exclusion from the debates because of viewpoint discrimination is an obvious

violation of the First and Fourteenth Amendments.

   i.      The Defendants’ Actions Violate First Amendment Guarantees

        “Premised on mistrust of governmental power” the First Amendment is at “‘its

fullest and most urgent application’ to speech uttered during a campaign for political

office.” Citizens United v. FEC, 558 U.S. 310, 339-40 (2010). Speech concerning

salient political issues is constitutionally enshrined because it is “the type of speech

[that is] indispensable to decision making in a democracy[.]” First Nat’l Bank v.

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Bellotti, 435 U.S. 765, 776-77 (1978). This is why the First Amendment

emphatically and unequivocally declares that “Congress shall make no law . . .

abridging the freedom of speech...” U.S. Const. amend. I.

       “[R]egulations affecting speech on government property that has been

traditionally devoted to expressive activity, or on property, which although not

traditionally open for assembly and debate has been designated for these purposes

by government, is subject to the strictest of scrutiny.” Parow v. Kinnon, 300 F. Supp.

2d 256, 267 (D. Mass. 2004) (Stearns, D.J.) (emphasis added) (citing Perry

Education Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 (1983)). “[T]he

State may reserve the forum for its intended purposes, communicative or otherwise,

as long as the regulation on speech is reasonable and not an effort to suppress

expression merely because public officials oppose the speaker’s view.” Perry, 453

U.S., at 131, n. 7 (emphasis added).

      “Whether property has status as a ‘public forum’ is defined by its ‘objective

characteristics.’ Parow, 300 F. Supp. 2d at 267 (citing International Soc. for Krishna

Consciousness, Inc. v. Lee, 505 U.S. 672, 698 (Kennedy, J., concurring)).

      If the objective, physical characteristics of the property at issue and the actual
      public access and uses that have been permitted by the government indicate
      that expressive activity would be appropriate and compatible with those uses,
      the property is a public forum. The most important considerations in this
      analysis are whether the property shares physical similarities with more
      traditional public forums, whether the government has permitted or
      acquiesced in broad public access to the property, and whether expressive



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      activity would tend to interfere in a significant way with the uses to which the
      government has as a factual matter dedicated the property.

Id.

      Each of the Arbitrary debates co-sponsored by Defendants is a limited public

forum. See Ark. Educ. Tv Comm’n v. Forbes, 523 U.S. 666, 680 (1998) (“the

government creates a designated public forum when it makes its property generally

available to a certain class of speakers . . . .”); id. at 675 (“candidate debates present

the narrow exception to the rule.”); Arons v. Donovan, 882 F. Supp. 379, 387-88 (D.

N.J. 1995); Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 830

(1995); Widmar v. Vincent, 454 U.S. 263, 268-69 (1981) (“[O]ur cases leave no

doubt that the First Amendment rights of speech and association extend to the

campuses of state universities.); Madison Joint School District v. Wis. Employment

Relations Comm'n, 429 U.S. 167, 175, and n. 8 (1976) (“[where] the State has

opened a forum for direct citizen involvement,” exclusions bear a heavy burden of

justification); Libertarian Nat'l Comm., Inc. v. Holiday, 2014 U.S. Dist. LEXIS

145969, * 14 (D.D.C. 2014) (candidate debates are subject to greater scrutiny).

      Because the Arbitrary debates are limited public forums, persons who fall into

designated classifications are entitled to participate and may not be prohibited from

speaking arbitrarily or unreasonably. Ark. Educ. Tv Comm’n, 523 U.S. at 680;

Parow, 300 F. Supp. 2d at 267-68. In hosting debates between candidates for United

States Senate in Massachusetts, Defendants have decided to include only the

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Republican and Democratic candidates in their Arbitrary debates, while excluding

Plaintiff, the only other legally qualified candidate. Given Dr. Ayyadurai’s

popularity, successful campaign, and legal status as a candidate, he is clearly a real   Commented [Office1]: Notoriety is commonly used of
                                                                                         being known for something “bad”

and serious candidate for United States Senate on par with the other candidates. Ark.

Educ. Tv Comm’n, 523 U.S. at 680. This exclusion appears to be on the basis of his

viewpoints and lack of political party affiliation. As the Supreme Court has noted:

      A burden that falls unequally on new or small parties or on independent
      candidates impinges, by its very nature, on associational choices
      protected by the First Amendment. It discriminates against those
      candidates and – of particular importance – against those voters whose
      political preferences lie outside existing political parties. By limiting
      the opportunities of independent-minded voters to associate in the
      electoral arena to enhance their political effectiveness as a group, such
      restrictions threaten to reduce diversity and competition in the
      marketplace of ideas. Historically political figures outside the two
      major parties have been fertile sources of new ideas and new programs;
      many of their challenges to the status quo have in time made their way
      into the political mainstream.

      Anderson v. Celebrezze, 460 U.S. 780, 793-794 (1983) (internal citations and

quotation omitted).

      There is no legitimate or rational justification for prohibiting Dr. Ayyadurai’s

participation in the debates. The burden of gathering the required names for a

candidacy petition is enough of a check. Dr. Ayyadurai and his volunteers gathered

nearly 20,000 signatures, of which they submitted a portion to the Secretary of State

of Massachusetts to get nearly 12,000 certified to be the first on the ballot for the

general election for U.S. Senate. By law, only 10,000 signatures are required to get

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on the ballot. Allowing Plaintiff’s participation will not open the flood gates and be

incompatible with the dictates of these debates because there are only three

candidates in this election. Ark. Educ. Tv Comm’n, 523 U.S. at 679 ; Libertarian

Nat’l Comm., Inc. v. Federal Election Comm’n, 2014 U.S. Dist. LEXIS 145969 , *

24-27.

         Given his status, the only conceivable reason Dr. Ayyadurai was excluded

from these Arbitrary debates appears to be due to his status as a candidate not

affiliated with a political party. The government’s action here is analogous to the

independent candidate regulations the Supreme Court found to be discriminatory in

Anderson, 460 U.S. 780. This is arbitrary and unreasonable viewpoint discrimination

in violation of the First Amendment. Ark. Educ. Tv Comm’n, 523 U.S. at 682-683

   ii.      The Defendants’ Actions Violate the Fourteenth Amendment

         The Equal Protection Clause of the Fourteenth Amendment provides that

“[n]o State shall . . . deny to any person within its jurisdiction the equal protection

of the laws.” U.S. CONST. AMEND XIV, § 1. The Equal Protection Clause

mandates that the states treat all persons similarly situated alike. See City of Cleburne

v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985).

         In the Arbitrary debates, Dr. Ayyadurai is situated exactly similar to his

Democratic and Republican general election opponents whom the Defendants have

invited to participate. Absent any public criteria for the arbitrary debates, the only



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discernable difference between him and his opponents is his status as an Independent

candidate. However, this distinction can hardly justify the Defendants’ refusal of

Plaintiff’s participation. Defendants arbitrarily and unreasonably discriminated

against Plaintiff and continue to do so based on his political viewpoints. This

arbitrary discrimination is blatantly unconstitutional under both the First

Amendment, as discussed supra, and the Fourteenth Amendment.

        1. Defendants’ Exclusion of Plaintiff from the Ability to Qualify for the
           October 15 “Criteria” Debate is Unconstitutional.

      Defendants’ exclusion of Dr. Ayyadurai from the October 15 Criteria debate

violates Plaintiff’s rights under the First and Fourteenth Amendment. See e.g.

Anderson, 460 U.S. 780.

      Defendants made their debate available to candidates for U.S. Senate in

Massachusetts who achieve a “significant level of support,” a certain class of

speakers, and then narrowed those parameters to exclude Dr. Ayyadurai. Defendants

have therefore discriminated against Dr. Ayyadurai based on the arbitrary decisions

of their debate co-hosts to exclude Plaintiff from their polling. As outlined in the

Verified Complaint, there is substantial evidence of broad support for Plaintiff’s

campaign.

      There is no legitimate justification for choosing a metric, produced by the

University’s co-hosts, which makes it functionally impossible for Dr. Ayyadurai to

participate in the Criteria debate. The only conceivable reason Plaintiff was excluded

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from this debate is due to his viewpoints and independent status. The exclusion of

Plaintiff from the necessary qualifying parameters is a direct and proximate result of

decisions made by UMass officials, including Defendants, in violation of the First

and Fourteenth Amendments. This not only constitutes viewpoint discrimination,

which is impermissible under the First Amendment, see Anderson, 460 U.S. at 793

and Ark. Educ. Tv Comm’n, 523 U.S. at 682-683, but also constitutes a violation of

the Equal Protection Clause of the Fourteenth Amendment. See Widmar, 454 U.S.

263; Socialist Workers Party, 440 U.S. at 184. There can be no reasonable or rational

basis for Defendants’ exclusion of Plaintiff from the Criteria debate.

   2. Defendants’ Exclusion of Plaintiff from the October 21 and October 30
      Arbitrary Debates are Unconstitutional.
   Defendants’ exclusion of Dr. Ayyadurai from the Arbitrary debates also violates

Plaintiff’s rights under the First and Fourteenth Amendment. Anderson, 460 U.S.

780.

   Defendants made these Arbitrary debates available only to candidates for U.S.

Senate in Massachusetts who were affiliated with the two major political parties.

These debates were announced immediately after each major political party’s

primaries concluded. The details were apparently arranged prior to the primaries,

and upon information and belief did not even seek to include Plaintiff in planning

these two Arbitrary debates.




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   The exclusion of Plaintiff from the Arbitrary debates is a direct and proximate

result of decisions made by UMass officials, including Defendants, in violation of

the First and Fourteenth Amendments. This not only constitutes viewpoint

discrimination, which is impermissible under the First Amendment, see Anderson,

460 U.S. at 793 and Ark. Educ. Tv Comm’n, 523 U.S. at 682-683, but also constitutes

a violation of the Equal Protection Clause of the Fourteenth Amendment. See

Widmar, 454 U.S. 263; Socialist Workers Party, 440 U.S. at 184. It appears that

Plaintiff was excluded from these Arbitrary debates solely on the basis of his

viewpoints and lack of affiliation with the major political parties. No rational basis

can justify Defendants’ exclusion of Plaintiff from the Criteria debates.

   3. Defendants’ Exclusion of Plaintiff From Their Debates Violates
      Massachusetts Law.

      Defendants’ prohibition of Dr. Ayyadurai from the Arbitrary debates and

exclusion of Plaintiff from qualifying for the Criteria debate also constitutes a

violation of Article 16 of the Massachusetts Declaration of Rights.

      Article 16 provides that “[t]he right of free speech shall not be abridged.” Art.

16. “Both the First Amendment to the United States Constitution and art. 16 of the

Massachusetts Declaration of Rights, as amended by art. 77 of the Amendments to

the Massachusetts Constitution, generally protect speech from government

regulation. See O'Brien v. Borowski, 461 Mass. 415, 422 (2012). “[A] separate




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analysis of this issue is [not] necessary under each of these constitutional

provisions.” Commonwealth v. Walters, 472 Mass. 680, n. 26 (Mass. 2015).

      As Defendants have violated Plaintiff’s First Amendment Rights, they have

also violated his rights under the Massachusetts Constitution.

   4. Conclusion

      Defendants have discriminated against Dr. Ayyadurai in prohibiting him from

participating in the three debates Defendants are hosting and/or sponsoring.

Defendants have done so in an arbitrary and unreasonable manner, which is

antithetical to open and productive political discourse and is unconstitutional under

the First and Fourteenth Amendments as well as illegal under Massachusetts law.

Because of the actions of the Defendants in violation of the U.S. Constitution and

Massachusetts law, Plaintiff is likely to succeed on the merits and this motion for

preliminary injunction should be granted.

   B. PLAINTIFF IS LIKELY TO SUFFER IRREPARABLE HARM IN THE
      ABSENCE OF AN INUNCTION THROUGH VIOLATION OF HIS
      CONSTITUTIONAL RIGHTS.

      Absent a preliminary injunction, Dr. Ayyadurai will suffer irreparable harm.

As noted above, if the preliminary injunction is not granted, Dr. Ayyadurai will

suffer a violation of his constitutional rights under the First and Fourteenth

Amendments and Article 16 of the Massachusetts Declaration of Rights.




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      Both the First Circuit and the Supreme Court have repeatedly held that “[t]he

loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976); In re Providence Journal Co., 820 F.2d 1342, 1352 (1st Cir. 1986) (“Timing

is of the essence in politics . . . . When an event occurs, it is often necessary to have

one's voice heard promptly, if it is to be considered at all.”) Van Arnam v. GSA, 332

F. Supp. 2d 376, 388 (D. Mass 2004) (quoting Shuttlesworth v. City of Birmingham,

394 U.S. 147, 163 (1969) (Harlan, J., concurring)).

      The First Circuit has also held that “[w]hile certain constitutional violations

are more likely to bring about irreparable harm, [it has] generally reserved this status

for infringements of free speech, association, privacy or other rights as to which

temporary deprivation is viewed of such qualitative importance as to be irremediable

by any subsequent relief.” Vaqueria Tres Monjitas, Inc. v. Irizarry, 587 F.3d 464,

484 (1st Cir. 2009) (quoting Pub. Serv. Co. of New Hampshire v. West Newbury,

835 F.2d 380, 382 (1st Cir. 1987)); Planned Parenthood League v. Bellotti, 641 F.2d

1006, 1022-23 (1st Cir. 1981); Boston's Children First v. City of Boston, 62 F. Supp.

2d 247, 261 (D. Mass. 1999).

       The debate decisions by Defendants deprive Dr. Ayyadurai of First

Amendment and equal protection rights because some candidates will enjoy a

greater voice in the days leading up to the general election. This voice will be



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provided by Defendants and the University, while depriving Dr. Ayyadurai of that

same voice. Dr. Ayyadurai will suffer irreparable harm in the absence of preliminary

relief, especially as the date of 2018 general election fast approaches.

   C. THE BALANCE OF EQUITIES TIPS IN THE PLAINTIFF’S FAVOR
      AND AN INJUNCTION IS IN THE PUBLIC INTEREST

      The balance of the equities and public interest factors “merge in a case like

this one, where the Government is the party opposing the preliminary injunction.”

Devitri, 289 F. Supp. 3d at 297 (citing Nken, 556 U.S. at 435). As discussed supra,

Defendant University of Massachusetts “is an instrumentality of the Commonwealth

of Massachusetts . . . .” Close, 303 F. Supp. at 1111. See also Reproductive Rights

Network, 45 Mass App. Ct. 495.

      Defendants have deprived, and will continue to deprive, Plaintiff of his rights

guaranteed under the First and Fourteenth Amendments and the Massachusetts

Constitution. Plaintiff’s injuries, therefore, are immediate, significant, and ongoing.

Due to his disparate treatment, Plaintiff cannot enjoy fully his rights under the First

Amendment on an equal basis with his opponents if the court fails to issue an

injunction prohibiting the Defendants’ from excluding Plaintiffs from the Arbitrary

debates and a reasonable opportunity to earn a position in the Criteria debate,

      In doing so, the government in this instance is inserting itself into the

marketplaces of ideas, and determine which voices should be heard in that

marketplace. As the First Circuit has noted:

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      the state plays an important role as a participant in the marketplace of
      ideas. It can speak directly, encouraging certain activities
      (environmental conservation, for example) while discouraging others
      (narcotics and smoking, for example). It can also speak indirectly, by
      subsidizing certain speech (for example, public school teaching) and
      refusing to subsidize other speech (for example, lobbying). There is no
      question that unfettered government speech can be dangerous to our
      democratic society. The power to teach, inform, and lead is also the
      power to indoctrinate, distort judgment, and perpetuate the current
      regime. With respect to the government's indirect speech in particular,
      it is important to monitor the government's undoubtedly broad power
      to decide which activities to subsidize, to ensure that the exercise of
      that power does not penalize citizens who disagree with the
      government.

      Student Government Association v. Board of Trustees, 868 F.2d 473, 482 (1st

Cir. 1989).

      Defendants, on the other hand, would not be harmed by an injunction because

governmental instrumentalities cannot have an interest in unconstitutional actions.

See e.g. Am. Civil Liberties Union v. Ashcroft, 322 F.3d 240, 247 (3d Cir. 2003);

N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483, 488 (2nd Cir. 2013). Any

resources the Defendants have expended in hosting the debates would not be lost if

Dr. Ayyadurai were allowed to take part.

      Moreover, the protection of constitutional rights is of the highest public

interest. Elrod v. Burns, 427 U.S. 347, 373 (1976). Stromberg v. California, 283 U.S.

359, 369 (1931)(“[t]he maintenance of the opportunity for free political discussion

to the end that government may be responsive to the will of the people and that

changes may be obtained by lawful means, an opportunity essential to the security

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of the Republic, is a fundamental principle of our constitutional system.”); Scott v.

Roberts, 612 F.3d 1279, 1297 (11th Cir. 2010) (“[T]he public, when the state is a

party asserting harm, has no interest in enforcing an unconstitutional law.”); ACLU

v. Alvarez, 679 F.3d 583, 590 (7th Cir. 2012) (“[T]he public interest is not harmed

by preliminarily enjoining the enforcement of a statute that is probably

unconstitutional.”); Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)

(“[E]nforcement of an unconstitutional law is always contrary to the public

interest.”); Am. Civil Liberties Union, 322 F.3d at 251 n.11 (“[N]either the

Government nor the public generally can claim an interest in the enforcement of an

unconstitutional law.”) (citation and internal quotation marks omitted). An

injunction is in the public interest because the public benefits from the equal

treatment of candidates during elections.

                                III.   CONCLUSION

      Because Dr. Ayyadurai is likely to succeed on the merits, Plaintiff is likely to

suffer irreparable harm in the absence of preliminary relief, the balance of equities

tips in Plaintiff’s favor, and an injunction is in the public interest, Dr. Ayyadurai

respectfully asks this Court to grant his motion for preliminary injunction enjoining

Defendants, their successors, agents, and assigns from conducting the Criteria debate

without providing Plaintiff a meaningful opportunity to earn participation and the

Arbitrary debates without including Plaintiff.



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Respectfully submitted,

September 14, 018                                  /s/ Timothy Cornell
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                           LOCAL RULE 7.1 CERTIFICATION

       I certify that I have conferred with counsel for the Defendants, and he has informed me

that the Defendants oppose this motion.

                                            /s/ Timothy Cornell
                                            Timothy Cornell

                              ECF NOTICE CERTIFICATION

       I certify that I will file this memorandum of law and the accompanying motion for

preliminary injunction through the Court’s Electronic Case File system, and that the Defendants




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will be thereby served electronically when they make an appearance, and otherwise will be

mailed a true copy via First Class Mail.

                                            /s/ Timothy Cornell
                                            Timothy Cornell




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